
Hall, Judge.
We must suppose the court entered the proper judgment, and it was not for the recovery of the term, but for the damages. ■ 2 Burr. 668, proves that the defendant in ejectment, is not concluded or estopped, but where the judgment is for the term unexpired, which draws to it the possession. That possession when obtained under the judgment, enures *382according to tbe right which the plaintiff has, and gives him possession of such estate as he has in the lands, whether in fee, for life, or otherwise. Here it was not determined that the plaintiff in the ejectment had any tide ; and therefore the judgment does not estop the defendant to say he had none, nor to say that he, the defendant, had not the freehold when his possession commenced and was continued»
